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..OB'EH-T-R.-Bi-'FHGHS
CLEFL'K, U.S. DIST. CT.

UN|TED STATES OF A|V|ER|CA W-D- OF TN, MEMPHIS
P|aintiff
VS.
CR. NO. 04-20048-D
DERR|CK THON|PSON
Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a change of plea hearing on June 20, 2005. At that time,
counsel for the defendant requested a continuance of the hearing in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Thursday, Ju|y 21, 2005l at 9:00 a.m., in Courtroom 3 9th Floor of the

Federal Building, Memphis, TN.

 

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

n is so oRDERED this da- day of June, 2005.

    

N|CE B. D NALD
U |TED STATES D|STR|CT JUDGE

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This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20048 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

Lecnard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

